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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                     WEST PALM BEACH DIVISION

                                                     Case No.;

 THE HANOVER INSURANCE
 COMPANY, a New Hampshire
 Corpol atton,

         Plaintiff,




 MUN ILLA CONSTRUCTION
 MANAGEMENT, LLC, d/b!a MCM,
 a Florida limited liability Company,

         Defendant.


                        COMPLAINT FOR DAMAGES AND REPLEVIN

         The Hanover Insurance Company              ("Hanover"   ), by and through its undersigned           counsel,

 files its Complaint     for Damages          and   Replevin     against     Defendant,     Munilla    Construction

 Management,     LLC d/b/a! MCM ("MCM"), and alleges:

                             PARTIES, JURISDICTION AND VENUE

                  Hanover is a New Hampshire            Corporation        that maintains   its principal    place of

 business and nerve center      of operations     in Worcester, Massachusetts,        making it a citizen    of New

 Hampshire     and Massachusetts      in accordance      with 28 U,S,C.         )   I332(c)(1). Hanover       is also

 licensed to conduct business in Florida,

                  MCM is a Florida limited liability company that maintains                  its principal   place of

 business and nerve center      of operations    in Miami, Florida, and all members are located in Miami,

 Florida, making it a citizen    of Florida     in accordance with 28      U.S.C. ( 1332(c)(l),
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          3.      The property subject to Hanover's replevin count and the damages Hanover seeks

 from MCM on its other counts exceed $ 1,000,000,

          4.      Jurisdiction    is proper    in this Court       according   to 28    U.S.C.      ~~    1332 because

 Hanover and MCM are citizens         of different states   and complete diversity      of citizenship exists,

          5.      Venue is proper in this division          of the    Court because the materials             subject to

 Hanover's replevin claim are located in Palm Beach County.

                                 FACTS PERTINENT TO ALL COUNTS

          6.      Lodge Construction,       Inc.   ("Lodge" ) was    the general contractor for a United States

 Army     Corps   of Engineers      Project located in Palm           Beach County       known           as the   Site I

 Impoundment      project (the "Project" ).

          7.      Lodge had       entered     a contract    with    the United     States Corps           of Engineers

 ("USACE") to perform the work required on the Project.

          8.      Hanover issued payment           and performance     bonds to secure Lodge's performance

 of   the contract with the USACE and the payment                  of certain of Lodge's subcontractors              and

 suppliers.

          9.      Lodge's work on the Project involved,              in part, the use   of the steel sheetpiling,

 walers, batter piles, and related accessories (collectively referred to herein as the "Sheetpiling

 Materials" ) to build a cofferdam wall that would hold water out of the construction site so Lodge

 could build an earthen levee that would ultimately          serve as the wall    of a reservoir,

          10.     The Sheetpiling Materials include 36 foot long, several feet wide, sheets of solid

 steel, walers, batter piles and related steel accessories.

          11.     After Lodge had performed a considerable portion               of the work on          the Project, the

 USACE terminated Lodge's contract and right to complete the Project.
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             12.        When Lodge demobilized          from the site, it left in place the Sheetpiling       Materials,

 which it had bought and brought to the site before its termination.

             13.        After the termination,      the USACE contacted Hanover and demanded             that Hanover

 take over the Project in accordance with the terms                 of the Performance Bond.

             14,       As part    of   investigating   the best way to complete the Project, Hanover hired a

 consultant and solicited bids from contractors potentially                interested in completing the Project.

             15.       The bid solicitation included design parameters for the bidders'se.

             16.       As is common in bid processes, interested             bidders asked various questions            and

 asked for clariftcations about the solicitation.

             17.       As part    of    answering      the bidders'uestions,        Hanover's     consultant,     Lovett

 Silverman         Construction   Consultants       ("LSCC"), issued     Addendum     No. 13 responding       to various

 questions.

             IS.       The very first question         to which LSCC responded          was: "Does the successful

 bidder become the legal owner              of the sheetpiling,    waler, batter piles, and other steel materials left

 on site'?     If no,    who is the owner and how will they assess liquidation                charges for damage to

 sheetpile during construction'"

             19.       LSCC's answer in Addendum                  13 was, "No; the sheet-pile      material     shall    be

 prepared for shipping and loaded onto trucks at the end                  of its use. The   bidders are to include all

 costs to load the material on trucks provided by others,                   No guidelines    for damage assessment

 have been outlined           at this time; however,       the Successful Bidder will be responsible            for any

 damage that it causes."

         20.          As the bid process was coming to a close, LSCC emailed MCM to obtain MCM's

 Best and Final Offer ("BAFO") including "Alternate No. 2,"
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          21.      Alternate    No. 2 asked MCM to provide           a proposal     to buy the Sheetpiling

 Materials.

          22.      By asking MCM for a proposal to buy the Sheetpiling Materials, Hanover wanted

 to know what MCM would pay to buy the Sheetpiling Materials from Hanover.

          23.      If Hanover accepted Alternate No. 2,      the amount MCM offered would have been

 deducted from the BAFO.

          24.      When MCM submitted           its BAFO, it responded   to Alternate No. 2 by offering a

 value   of $ 387,000,00 for    the Sheetpiling Materials,

          25.      MCM's BAFO also included a decrease from its initial bid as purely a business

 decision to decrease the cost and win the bid,

          26,      MCM did not submit a bid according to the solicitation            that Hanover,   through

 LSCC, had published.

          27,      Instead,    it "elected to assume    complete   responsibility    for the cofferdam    by

 providing its own design."

          28,      MCM's decision to assume full responsibility          for the design was an attractive

 option for Hanover because it would allow Hanover to end its involvement              with the Project and

 tender MCM to the USACE so MCM and the USACE could negotiate a new contract between

 themselves     for the completion   of the   work.

          29.      On December       31, 2012, the USACE     and Hanover entered a Tender and Release

 Agreement      wherein   Hanover tendered      MCM as the completion       contractor to the USACE and

 Hanover received a release from the USACE for most           of its obligations,

          30,      MCM is not a party to the Tender and Release Agreement.

          31.      MCM entered a contract directly with the USACE to complete the Project,
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           32.      Hanover is not a party to the USACEiMCM contract,

           33.      After MCM entered its contract with the USACE, SunTrust Bank filed suit (Case

 No. 9:13-cv-80156-DTKH) in the United                  States District Court for the Southern           District   of
 Florida (the "SunTrust Litigation" ),

           34.      Sun Trust was Lodge's lender.

           35.      SunTrust     filed the SunTrust       Litigation     against     Lodge and third parties    with

 arguably perfected interests in Lodge's property that Sun Trust sought to foreclose.

           36.      ln the SunTrust    Litigation,     SunTrust sought to foreclose on various           of Lodge's

 assets, including the Sheetpiling Materials.

           37.      SunTrust added Hanover and other secured creditors as parties to the SunTrust

 Litigation.

           38.      SunTrust    did not add MCM to the SunTrust                Litigation because MCM did not

 have a recorded security interest in any      of Lodge's assets,        including the Sheetpiling Materials.

           39.      On August 8,     2013, Hanover's counsel mailed                and e-mailed   a letter to MCM's

 counsel    informing    MCM of the SunTrust             Litigation,     informing     MCM of the fact that the

 Sheetpiling     Materials     were at issue in the litigation,          and advising      MCM of the dates for

 mediation and trial. A copy       of this letter is attached hereto as Exhibit         "1."
           40,     The letter from Hanover's          counsel to MCM's counsel also attached a copy                 of
 Addendum        No. 13 to the Request for Bid, which informed the bidders they would not become

 legal owners     of the Sheetpiling Materials       at the completion     of the Project.

           41.     On August      12, 2013, SunTrust, Hanover, Lodge, and the USACE mediated the

 Sun Trust Litigation,
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           42.     MCM did not attend mediation despite receiving an invitation from Hanover to do




           43,     On August 26, 2013, Hanover's            counsel mailed and e-mailed a letter to MCM's

 counsel confirming receipt       of an     email MCM sent to LSCC on August 22, 2013 suggesting                   that

 MCM had an ownership interest in the Sheetpiling Materials,

           44.     In that letter, Hanover       rebutted   MCM's ownership          claims and reminded      MCM

 that it knew about the SunTrust            Litigation but was taking no action in that case to protect its

 rights. A copy    of this   letter is attached hereto as Kxhibit       "2."
           45.     As a result of negotiations      that started at mediation,      SunTrust and Hanover filed a

 Joint Motion for Entry of Stipulated Final Judgment of Replevin and Possession as to Sheetpiling

 Collateral that dealt directly with the ownership          of the    Sheetpiling Materials,

           46.     On September       17, 2013, this Court entered             a Stipulated     Final Judgtment     of

 Replevin    and Possession      as to Sheetpiling     Collateral     (the "Sheetpiling Judgment" ), [SunTrust

 Litigation, Dkt, 73], A copy      of the   Sheetpiling Judgment is attached hereto as Kxhibit             "3."
           47.     The Sheetpiling     Judgment      provides,       in part, that SunTrust     and Hanover       were

 equally entitled to possession      of the Sheetpiling Materials          and would equally split the proceeds

 from the sale   of the materials once sold. [Sun Trust Litigation, Dkt. 73, $ 2; Exhibit 3, $ 2].

           48.     On the day the Court entered the Sheetpiling Judgment,                Hanover's counsel mailed

 and e-mailed a letter to MCM's counsel delivering               a copy   of the Sheetpiling    Judgment    to MCM

 as the Court instructed      in the Sheetpiling     Judgment,        A copy   of this   letter is attached hereto as

 Exhibit    "4."
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            49,       On September      27, 2013, MCM voluntarily                submitted    itself to the Court's

 jurisdiction      by filing a motion to intervene          in the SunTrust      Litigation   to try to set aside the

 Sheetpiling Judgment.         [SunTrust Litigation, Dkt, 76].

            50,       MCM's    Motion      sought     to assert    its purported     claim    to ownership      of the

 Sheetpiling Materials.

            51,       On December 5, 2013, the Court denied MCM's Motion to Vacate. [SunTrust

 Litigation, Dkt.      86].

            52,       In its order, the Court       found   that MCM had specific notice            of   the SunTrust

 Litigation       and mediation,   found that MCM had no excuse for delaying                   in the pursuit   of "its

 obligation       to proceed with reasonable        dispatch to protect its claimed interest in the litigation,"

 and rejected MCM's effort to undo the Sheetpiling                   Judgment,     thereby leaving that judgment

 intact. [Sun Trust Litigation, Dkt. 86],

            53.       MCM did not appeal the Court's Order.

            54.      The Sheetpiling      Judgment     vested 50% ownership           of the Sheetpiling Materials

 with SunTrust and        50% ownership with Hanover.             )SunTrust Litigation, Dkt. 73, fI      2.; Exhibit 3,

 1[2]

            55,      Hanover has acquired SunTrust's           ownership   interest in the Sheetpiling       Materials

 and now owns         100% of the Sheetpiling Materials, A copy of the Assignment                  from SunTrust to

 Hanover is attached hereto as Exhibit           "5."
            56,      Thereafter, Hanover recorded a UCC-1 Financing Statement to perfect its secured

 interest    in the Sheetpiling     Materials,       A copy    of Hanover's UCC-1 Financing Statement is

 attached hereto as Exhibit        "6."
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         57.       Approximately      6 months after the entry   of the   Sheetpiling Judgment,        on June 10,

 2014, MCM filed a lawsuit again seeking to disrupt Hanover's                    ownership      interests    in the

 Sheetpiling Materials as reflected in the Sheetpiling Judgment.

         58.       Hanover    removed    MCM's lawsuit to this Court and the case proceeded under

 Case No. 1:14-cv-22502-JAL ("MCM             I"),

         59.       On December 9, 2014, this Court entered its Order Granting in Part and Denying

 in Part Hanover's    Motion to Dismiss (the "MCM I Dismissal Order" ) [MCM I, Dkt, 40],

         60.       The MCM I Dismissal Order was clear in its determination                 of the    ownership   of
 the Sheetpiling     Materials:    "The Court has already adjudicated          the rights    to the Sheetpiling

 Matenals, vesting equal ownership among SunTrust and             Hanover.....      The Court reiterated that

 ownership     in its Order denying     MCM's Motion to Intervene in the SunTrust Action," [MCM I,

 Dkt,40, p, 9],

        61.        Consequently,    the MCM I Court dismissed with prejudice MCM's claim that was

 essentially designed to disrupt this Court's judgment        granting    Hanover an ownership           interest in

 the Sheetpiling Materials.

        62.        MCM did not appeal the MCM I Dismissal Order.

        63,        Thereafter, MCM dismissed MCM I without prejudice.              [MCM I, Dkt. 46].

        64.        Less than a month after voluntarily       dismissing     MCM I, on J'anuary 28, 2015,

 MCM filed a new Complaint against Hanover in Case No. I:15-CIV-20307-JAL. ("MCM                             II").

        65.        In MCM II, MCM, among             other things,   claimed     it had     a right    to buy the

 Sheetpiling Materials,

        66.        On July 10, 2015, the Court dismissed MCM II without prejudice,               [MCM II, Dkt.
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           67.        On    July   13, 2015, Hanover's       counsel    wrote   MCM's      counsel       demanding

  immediate       access to the Project site to remove the materials MCM was no longer using.                  (See,

  copy of letter attached hereto as Exhibit        "7.")
           68,        On July 16, 2015, MCM wrote the USACE taking exception to Hanover's right to

  access the project to remove the unused materials.          (See, copy of letter attached hereto as Exhibit

  cc8 N)


           69.        On July 17, 2015, the USACE asked counsel whether               they had resolved        their

  disagreement       about Hanover's     right   of access and entitlement      to the Sheetpiling       Materials.

  Hanover sent the e-mail attached hereto as Exhibit          "9"in    response to that inquiry.

           70.        In response to Hanover's      e-mail to the USACE, MCM sent             a.   July 20 letter to

  Hanover's       counsel   wherein,   MCM rescinded       its objection to Hanover      accessing the site to

  inspect and remove the materials.        (See, copy of leIter attached hereto as Exhibit         "10,")
           71.        In its letter, MCM stated,

                      MCM is willing to agree to Hanover's removal of the Sheetpiling....
                      Please note: MCM will remove whatever Sheetpiling remains in the
                      ground by July 29, but will not assist Hanover with the loading or
                      transporting of the Sheetpiling materials on the ground. Also note: all
                      Sheetpiling materials must be off the project by August 3, 2015,
                      otherwise MCM may be subject to Liquidated Damages. In that
                      regard, please coordinate the loading and transportation       of the
                      Sheetpiling  materials with USACE.

           72.        Given MCM's July 20 letter, Hanover made arrangements               for its consultant      to

  visit the project site on July 24 to inspect the materials           and take an inventory       of the materials

  remaining      on site,

           73,        On July   21, 2015, Hanover's counsel wrote MCM's counsel and informed MCM

  about the logistics for a July 24 site inspection.       (See, letter attached as Exhibit    "1I.")
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             74.       In light    of MCM's July 20 letter      stating that Hanover could move forward with a

  sale    of the   Sheetpiling Materials, Hanover also had a representative                of the buyer   attend the July

  24 site visit so he could begin to evaluate and coordinate the removal of the materials from the

  site.

             75.       A representative      of MCM accompanied Hanover's                 consultant   and the buyer on

  the July 24 site visit,

             76.       The MCM representative           showed Hanover's      consultant      and the representative      of
  the buyer the Sheetpiling Materials Lodge had left on site.

             77.       Hanover's      consultant    prepared   an inventory   of the   materials       MCM showed the

  consultant       and representative     of the   buyer on July 24. A copy      of the    inventory is attached hereto

  as Exhibit       "I2."
            78.        The inventory      reflects that of the 6,143,915.28 pounds             of materials    Lodge had

  delivered to the site, only 1,564,087.60 pounds remained.

            79.        Hanover's      consultant    asked the MCM representative             on July 24   if   any    of the

  Lodge materials were located anywhere else on site.

            80.        The answer from MCM's representative            was no.

            81.        On July 27, Hanover's         counsel sent the letter attached hereto as Exhibit              "13"to
  MCM's counsel notifying him of the missing materials and demanding                          the immediate     surrender

  of the materials.

            82,        In the meantime,      on July 28, as the Sheetpiling Judgment            allows, Hanover began

  making arrangements             with the USACE to remove those materials still on site that MCM was not

  using, (See, copy      of e-mail    attached hereto as Exhibit      "14.")




                                                               10
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             83.       Then, on July 29, 2015 MCM's counsel                       sent Hanover's'ounsel          the e-mail

  attached     hereto     as Exhibit      "15," which       states,    in part,      "MCM will continue          to rerrrove

  Sheetpilr'rrgIrorrr      tire I"rojeet until Hanover's       contractor arrives to the Project, at which point

  Hanover can remove up to 6,143,915,28 pounds                   of the Sheetpiling           that remains on the Project,"

  (Emphasis added.)

             84.       The July 29 e-mail from MCM's counsel confirms                            that MCM has removed

  Sheetpiling Materials that Lodge delivered to the Project.

             85.       Hanover's      counsel sought clarification        about MCM's removal activities and the

  location    of the    Sheetpiling Materials as to these issues in an e-mail the same day, July 29. (See,

  copy of e-mail attached hereto as Exhibit            "16.")
             86,       When MCM did not immediately              respond, Hanover's            counsel sent another e-mail

  on July 29 asking about the quantity                of   the Sheetpiling        Materials     left on site, their specific

  location, and whether MCM would allow Hanover to remove the materials,                              (See, copy of e-mail

  attached hereto as Exhibit          "17.")
             87.       MCM did not answer the questions Hanover asked,

             88,       In a final effort to amicably resolve the matter, Hanover's                  counsel sent the letter

  attached hereto as Exhibit          "18"on   July   31, 2015.

             89,       Instead   of   responding   to the questions         Hanover      had asked,      MCM responded

  through     counsel by e-mail on July 31 confirming                 that MCM had removed, and would continue

  removing Sheetpiling Materials from the Project site,

             90.       Hanover has retained the undersigned              attorneys    to represent     it in this action and

  has agreed to pay these attorneys a reasonable fee for all fees and costs incurred.




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           91,       All conditions    precedent to maintaining          this action have occurred, been fulfilled,

  or waived.

                                               COUNT I —REPLEVIN

           92.       Hanover realleges and incorporates            the allegations   of paragraphs       1   through 91 as

  if fully set   forth herein.

           93,       This is an action for the replevin        of personal   property pursuant        to Section 78.068,

  Flori Ja Stattites, the value of which is in excess of $ 1,000,000,00,

           94,       The Sheetpiling Materials are specifically identified in the listing LSCC prepared, a

  copy of which is attached hereto as Exhibit         "12."
          95,        Hanover      is the owner   of the   Sheetpiling     Materials by virtue       of   the Sheetpiling

  JudgInent      and SunTrust's     assignment   of its interest    in the Sheetpiling    Materials to Hanover,          A

  copy of the Sheetpiling           Judgment     is attached    hereto     as Exhibit    "3," and        a copy     of the

  Assignment       from SunTrust to Hanover, which thereby vests 100'/o ownership                     of the Sheetpiling

  Materials, is attached hereto as Exhibit        "5."
          96,        Moreover, Hanover has a perfected security interest in the Sheetpiling                      Materials

  pursuant to its duly recorded UCC-1 Financing Statement, (See, Exhibit                      "6.")
          97,        MCM has admitted that it no longer needs the Sheetpiling Materials for its work

  on the Project and stated that the materials would be removed from the ground by July 29,                        2015.

          98,        MCM refuses to surrender         possession       of the   Sheetpiling     Materials     to Hanover

  despite repeated demands from Hanover.

          99.        Correspondence      from MCM and its counsel establishes                 that MCM has removed

  the Sheetpiling Materials from the Project site. (See, Exhibits               "10"and "15".)
          100.       MCM refuses to tell Hanover where it has taken the Sheetpiling Materials.
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             101.      Consequently,        MCM is engaging         in    conduct,     including     the removal     of   the

  Sheetpiling       Materials from the Project site, that may place the Sheetpiling                Materials in danger     of

  destruction,      concealment,    waste, removal from the state, sale to a third party, and/or removal from

  the jurisdiction     of this Court.

             102,      To the best of Hanover's knowledge, information and belief, the current value of the

  Sheetpiling       Materials    (which are subject to the Sheetpiling           Judgment         and Hanover's     security

  interest) is at least $ 1,000,000, which value is based on an offer to buy the Sheetpiling Materials that

  Hanover has received.

             103.      MCM is wrongfully          detaining    the Sheetpiling       Materials    Hanover's   demands     for

  possession.

             104.      MCM's wrongful detention of the Sheetpiling Materials is based, at least in part, on

  MCM's refusal to acknowledge Court's adjudication of ownership in the Sheetpiling Judgment and

  subsequent     confirmation      of ownership       in the MCM I Dismissal Order,

             105,     The Sheetpiling Materials have not been taken for a tax, assessment, or fine pursuant

  to law.

             106,     The Sheetpiling         Materials have not been taken under an execution or attachment

  against the property        of Hanover.

             107.     Upon      information     and    belief, the Sheetpiling        Materials    are located     at Site I

  Impoundment,        with the USACE, located on            S.R. 827, Loxahatchee Road, Boca Raton, Florida on

  the north side     of the   road from N, University Dr, west toward the L-40 canal at Everglades National

  Park.     Hanover does not know where the Sheetpiling                  Materials that MCM has removed from the

  Project site are located because MCM will not tell Hanover the location, despite request for that

  information,
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          WHEREFORE, Hanover demands judgment against MCM:

          (1)      directing the Clerk       of the Court to issue a Writ of Replevin          in favor    of Hanover or

                   issuing, without delay, an order to show cause to MCM, pursuant                     to the provisions

                   of section 78,065, Florida Stahites,         giving MCM and opportunity             to be heard as to

                   why the Sheetpiling        Materials should not be immediately          delivered      to Hanover,    (!)
                   granting Hanover immediate possession            of the   Sheetpiling Materials;

          (2)      permitting    Hanover to enter the premises at Site I Impoundment,                with the USACE,

                   located on S.R. 827, Loxahatchee Road, Boca Raton, Florida on the north side                     of the

                   road from N, University         Dr, west toward the L-40 canal at Everglades                  National

                   Park, for the purpose      of removing     the Sheetpiling Materials;

          (3)      ordering     MCM to disclose the locations           of   all Sheetpiling    Materials     MCM has

                   removed from the Project site;

          (4)      allowing Hanover to remove the Sheetpiling Materials from such other locations;

          (5)      awarding Hanover all damages sustained by reason                of MCM's     wrongful detention       of

                   the Sheetpiling Materials, as provided in section          78.01, Florick~    Srati~tes;


          (6)      awarding     Hanover      its reasonable    attorneys'ees       since Hanover        is essentially      a

                   judgment     creditor under the Sheetpiling Judgment and MCM is in possession                    of the

                   Sheetpiling Materials governed by that judgment but refuses to relinquish                  possession

                   of the   materials; and

          (7)      granting Hanover all such further relief as this Court deems proper,

                                          COUNT      II —CONVKRSION
          108.     Hanover realleges and incorporates            the allegations    of paragraphs      1   through 91 as

  if fully set forth herein.
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           109.      This is an action for damages that exceed $ 1,000,000.00.

           110.      Hanover owns and has a right to possess the Sheetpiling Materials.

           111. MCM              has interfered   with Hanover's       ownership          of   and possessory        right to the

  Sheetpiling Materials.

           112.      MCM's actions, as reflected in the correspondence                         attached   hereto as Exhibits

  "10"and "15,"reflect            its intent to deprive Hanover       of its   ownership        of and possessory         right to

  the Sheetpiling Materials.

           113. MCM's actions                threaten     a diminution         in    value     of   Hanover's         Sheetpiling

  Materials.

           114.      MCM's actions are depriving                 Hanover   of       its ability     to sell the Sheetpiling

  Materials,

           115. Hanover has suffered damages, which are continuing                                in nature,       as a result    of

  MCM's actions and refusal to relinquish possession of the Sheetpiling Materials.

           WHEREFORE, Hanover requests that this Court enter a judgment for damages against

  MCM, award Hanover its costs              of this   action, and grant Hanover such f'urther relief as the Court

  deems proper.

                                            COUNT III —CIVIL THEFT

           116,      Hanover realleges and incorporates             the allegations       of paragraphs        1   through 91 as

  if fully set   forth herein.

           117,      This is a claim for civil theit pursuant to Chapter 772, Flaridtt Stattttes.

           118. As a        result     of MCM's       wrongful     deprivation       of   the Sheetpiling          Materials     and

  refusal to relinquish     all    of the Sheetpiling Materials to Hanover, MCM                     has knowingly        obtained




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  the Sheetpiling    Materials that is contrary to the terms       of the     Sheetpiling    Judgment,    Hanover's

  ownership   rights, and Hanover's      security interest in the Sheetpiling Materials,

          119,      MCM has intentionally       deprived   Hanover     of     the possession    of   the Sheetpiling

  Materials and misappropriated        them for its own use.

          120.      Hanover has made a written demand that MCM relinquish                   possession to Hanover

  of the Sheetpiling Materials      that MCM is wrongfully       detaining,     but MCM has refused to accede

  to the demand within thirty (30) days,

          121.      Under section      772.11, Florida Statutes, Hanover is entitled             to three times its

  actual damages sustained as a result      of MCM actions      and is also entitled to recover its reasonable

  attorneys'ees     and court costs.

         WHEREFORE, Hanover requests that this Court enter a judgment                          for damages against

  MCM, award Hanover its attorneys'ees            and costs   of this action,    and grant Hanover such further

  relief as the Court deems proper.




                                                                       Is/Evan     J. IVee4
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